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             IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF PUERTO RICO



BERKEY INTERNATIONAL, LLC,             Civil No. 3:24-cv-01106-CVR

          Plaintiff,
     v.

ENVIRONMENTAL PROTECTION
AGENCY, et al.

          Defendants.




  DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                   PRELIMINARY INJUNCTION




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         This case is straightforward, despite Plaintiff Berkey International LLC’s (“Plaintiff” or

“Berkey International”) efforts to complicate it. 1 EPA can issue Stop, Sale, Use, or Removal

Orders (“SSUROs”) whenever it has “reason to believe” that a pesticide has been or is intended

to be distributed or sold in violation of the Federal Insecticide Fungicide and Rodenticide Act

(“FIFRA”). 7 U.S.C. § 136k(a). EPA learned that certain Berkey water filtration products

(“Berkey Products”) manufactured or assembled by Plaintiff incorporated anti-microbial silver and

were being sold with labels claiming that they could remove viruses and pathogens from water

sources. This provided EPA with “reason to believe” that the sale and distribution of Berkey

Products violated FIFRA. EPA therefore properly issued a SSURO to Plaintiff on May 8, 2023.

Ex. 1.

         Plaintiff waited more than 300 days after receiving its SSURO before seeking “emergency”

relief. Plaintiff now not only requests an order setting aside the SSURO that it received, but further

wrongfully attempts to set aside SSUROs issued to non-parties and enjoin EPA from issuing

SSUROs related to Berkey Products to anyone again.

         Plaintiff has standing to bring claims related only to the SSURO it received. As to that,

Plaintiff’s motion for emergency relief fails. Plaintiff cannot show a likelihood of success on the

merits because its own evidence demonstrates that EPA issued the SSURO based on long-standing

and well-publicized interpretations of FIFRA and EPA’s regulations. Plaintiff also fails to

demonstrate irreparable harm; any conclusory allegations of economic harm are attributable to

other factors, including a recently settled widely publicized class-action lawsuit alleging that



1
  This brief addresses only Plaintiff’s motion for preliminary injunction and to demonstrate why
injunctive relief is inappropriate. Defendants reserve the right to assert all defenses afforded in
the Federal Rules of Civil Procedure in any future response to Plaintiff’s Complaint, including,
but not limited to, those available under Rule 12(b).


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Berkey Products do not perform as advertised. 2 Finally, Plaintiff cannot show that the public

interest or balance of the equities tilts in its favor because the public interest in regulating pesticide

consumer products predominates. Plaintiff thus meets no element of the test. See Winter v. NRDC,

555 U.S. 7, 20 (2008). The Court should deny its motion.

                                             Background

A.      Legal Background

        FIFRA governs the production, sale, distribution, and use of pesticides, which include “any

substance or mixture of substances intended for preventing, destroying, repelling, or mitigating

any pest.” 7 U.S.C. § 136(u). 3 Longstanding EPA regulations define when a “substance is

considered to be intended for a pesticidal purpose, and thus to be a pesticide requiring registration.”

40 C.F.R. § 152.15; infra at 3. FIFRA makes it unlawful, with some exceptions, for any “person

in any State [to] distribute or sell to any person any pesticide that is not registered” under the Act.

7 U.S.C. § 136a(a); id. § 136j(a)(1)(A).

        EPA also regulates “devices” under FIFRA. In general, a “device” is an “instrument or

contrivance . . . intended for trapping, destroying, repelling, or mitigating any pest …,” subject to

certain exceptions not relevant here. 7 U.S.C. § 136(h). Devices are not subject to FIFRA’s

product-specific, pre-sale registration requirements. That said, devices are subject to various

requirements, including that they must be produced at a registered establishment and must not be



2
  See Farrell et al. v. New Millennium Concepts, Ltd, Case No. 3:22-cv-00728, (N. D. Tex.)
(alleging Berkey Products “fail to ‘purify’ water and fail to eliminate or dramatically reduce
contaminants to the extent advertised.” In February 2024, the case settled via a private
settlement agreement and the parties stipulated to dismissal of the case. 3:22-cv-00728 ECF No.
78, ECF No. 80.
3
  Subject to exceptions not relevant here, a “pest” is “[a]ny fungus, bacterium, virus, prion, or
other microorganism” that is “deleterious to man or the environment.” 40 C.F.R. § 152.5.


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“misbranded.” 40 C.F.R. § 152.500(b); see also 7 U.S.C. §§ 136(q)(1), 136e. Since 1975, EPA

has interpreted “devices” to include water filters, with a critical exception: “those containing

substances or mixtures of substances which are pesticides.” 40 Fed. Reg. 28242, 28266 (July 3,

1975) (emphasis added). If “a product … incorporates a substance or mixture of substances

intended to … destroy … or mitigate any pest, the entire product is considered to be a pesticide

and is subject to registration under FIFRA section 3.” U.S. EPA, Pesticide Registration Manual:

Chapter 13 - Devices, Pesticide Registration, (last updated Oct. 23, 2023); see also Pest Control

Devices and Device Producers, Consolidation, and Clarification of Requirements, 41 Fed. Reg.

51065 (Nov. 19, 1976) (same). 4

       EPA’s regulations include the treated article exemption which exempts articles that would

otherwise require registration because they incorporate a pesticidal substance if the pesticide is

intended only “to protect” the articles themselves, but only if that pesticide “is registered for such

use.” 40 C.F.R. § 152.25(a). Under EPA’s longstanding interpretation, “articles … bearing

implied or explicit public health claims against human pathogens” generally do not qualify for this

exemption because such claims indicate that the treating pesticide is intended for purposes other

than protecting the article. See U.S. EPA, Pesticide Registration (PR) Notice 2000-1, Notice to

Manufacturers, Formulators, Producers, and Registrants of Pesticide Products (Mar. 6, 2000). 5

Public health claims include, inter alia, claims “for control of specific microorganisms or classes

of microorganisms that are … infectious or pathogenic”; claims “for the product as a sterilant,

disinfectant, virucide or sanitizer”; or claims “that the product will beneficially impact or affect


4
  Available at https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-
13-devices (last visited Apr. 16, 2024).
5
    Available at https://www.epa.gov/pesticide-registration/prn-2000-1-applicability-treated-
articles-exemption-antimicrobial-pesticides (last visited Apr. 16, 2024).


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public health by pesticidal means at the site of use or in the environment in which applied.” Id. at

2-3.

          EPA “is charged with choosing the means by which to enforce and achieve the goals of

FIFRA.” Sultan Chemists, Inc. v. EPA, 281 F.3d 73, 83 (3d Cir. 2002). One enforcement option

is to issue SSUROs “[w]henever … there is reason to believe . . . that [a] pesticide or device has

been or is intended to be distributed or sold in violation of any” provision of FIFRA. 7 U.S.C.

§ 136k(a). A SSURO prohibits the sale, use, or removal of a pesticide “except in accordance with

the provisions of the order.” Id.

B.        Factual Background

          The United States first registered products containing antimicrobial silver as a pesticide in

1954. 6 Ingestion of silver may cause, among other things, breathing problems, abdominal pain,

and rashes, swelling, and skin inflammation in humans and animals. 7

          Over 125 products containing silver are registered as pesticides with EPA. 8 Among other

uses, products containing silver are registered under FIFRA to inhibit the growth of bacteria within

the filter unit of water filter systems designed to remove objectionable taste, odors, and color from

municipally treated tap water. 9




6
    U.S. EPA, R.E.D. Facts Silver at 2, June 1993, (last viewed on Apr. 16, 2024).
7
    Id. at 2-4.
8
    U.S. EPA, Chemical Name: Silver, (last viewed on Apr. 16, 2024).
9
 Id.; see also FIFRA registrations for an example of a water filter that contains silver: EPA Reg.
No. 35900-3 (last viewed on Apr. 16, 2024).


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       Berkey International LLC is a Puerto Rican limited liability company founded in 2015.

Compl. ¶ 1. 10 It manufactures a variety of Berkey Products. Compl. ¶ 19; Ex. 1 ¶ 28.

       Following an investigation, EPA determined that the Berkey Products distributed by

Plaintiff contain antimicrobial silver and are being sold with labeling claiming that the Products

remove pests that threaten public health from various water sources. Ex. 1 at 3-5. EPA therefore

issued a SSURO to Plaintiff. 11

       To date, to the best of EPA’s knowledge, the violative products still contain silver, are

being advertised for pesticidal purposes, 12 are not registered with EPA, and do not meet the

labeling requirements in FIFRA for either pesticides or devices. Plaintiff has not yet shown how

any of the offending products could meet the treated article exemption. 13

                                        Legal Standards

A.     Preliminary Injunction Standard

       The First Circuit has repeatedly cautioned that a “preliminary injunction is an extraordinary

and drastic remedy that is never awarded as of right.” Peoples Fed. Sav. Bank v. People's United

Bank, 672 F.3d 1, 8-9 (1st Cir. 2012) (citations omitted). The moving party must demonstrate that



10
     Government of Puerto Rico, Department of State, Corporation Information, Berkey
International LLC, https://rceweb.estado.pr.gov/en/entity-information/?c=365440-1511 (last
viewed on Apr. 16, 2024).
11
    7 U.S.C. § 136k; U.S. EPA, FIFRA Enforcement Response Policy, December 2009,
https://www.epa.gov/sites/default/files/documents/fifra-erp1209.pdf (last viewed on Apr. 16,
2024).
12
   What does Berkey Water Filter Remove? Lab Test Results, App. at 1-39; available at
https://theberkey.com/pages/test-result?_pos=1&_sid=512c81191&_ss=r (last viewed on Apr.
16, 2024) (“The Berkey filters can be classified as water purifiers because they remove
99.9999999% of pathogenic bacteria and 99.999% of viruses, significantly exceeding the
standard.”).




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(1) “he is likely to succeed on the merits”; (2) “he is likely to suffer irreparable harm in the absence

of preliminary relief”; (3) “the balance of equities tips in his favor”; and (4) “an injunction is in

the public interest.” Winter, 555 U.S. at 20.

B.      Merits Standard

        This Court has jurisdiction under FIFRA to review “final actions” of the EPA

Administrator other than those actions issued “following a public hearing.” 7 U.S.C. § 136n(a),

(b). FIFRA does not provide a standard of review; thus, courts use the APA standard. See Defs.

of Wildlife v. Adm'r, E.P.A., 882 F.2d 1294, 1302 (8th Cir. 1989) (citation omitted) (FIFRA judicial

review is conducted “in accordance with the law generally applicable to administrative

procedure”).

        Under that standard, the party challenging an agency action must show that the action was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A); NRDC, Inc. v. U.S. E.P.A., 824 F.2d 1258, 1267 (1st Cir. 1987). The court’s review

is limited to the administrative record compiled by the agency and “not some new record made

initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973). Review is deferential

and narrow, and a court may not substitute its judgment for that of the agency. See Motor Vehicle

Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). The court considers only

whether the agency’s “decision was based on a consideration of the relevant factors and whether

the agency made a clear error in judgment.” Airport Impact Relief, Inc. v. Wykle, 192 F.3d 197,

202–03 (1st Cir. 1999) (collecting cases). Particular deference is given to an agency regarding

technical matters in its area of expertise. City of Taunton v. U. S. E.P.A., 895 F.3d 120, 126 (1st

Cir. 2018) (citing Balt. Gas & Elec. Co. v. NRDC, 462 U.S. 87, 103 (1983)); see also Upper

Blackstone Water Pollution Abatement Dist. v. U.S. E.P.A., 690 F.3d 9, 20–21 (1st Cir. 2012)).




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                                    Argument and Authorities

A.      Plaintiff is Unlikely to Succeed on the Merits.

        1.      Plaintiff lacks standing to challenge SSUROs issued to non-parties.

        Plaintiff’s motion begins with a request that this Court stop enforcement of all “SSUROs,”

plural, and continues with requests for relief on behalf of third parties in addition to itself. Mot. at

1; see also, e.g., Mot at 4; 8 (“EPA cannot point to any pesticidal claim made by the SSURO

recipients when issuing their SSUROs”; “Each day the SSUROs are in place Berkey is harmed”);

Compl. ¶¶ 54, 61, 62, 63, 64 & 65 (including allegations concerning SSUROs issued to third

parties). For purposes of this motion only, we assume that Plaintiff has Article III standing to

request injunctive relief related to the SSURO issued to it on May 8, 2023. Plaintiff does not,

however, have standing to bring claims on behalf of non-parties. Singleton v. Wulff, 428 U.S. 106,

113 (1976).

        “Federal courts must hesitate before resolving a controversy … on the basis of the rights

of third persons not parties to the litigation.” Singleton, 428 U.S. at 113; see also Kowalski v.

Tesmer, 543 U.S. 125, 129-130 (2004) (assuming a litigant’s Article III standing but dismissing

their claims for lack of third-party standing). Plaintiff offers nothing that could overcome this

hesitation. Indeed, in an earlier-filed suit that Plaintiff’s counsel describes as “effectively the same

case” as this one, Norred Decl., ECF No. 36 at 4, the U.S. District Court for the Northern District

of Texas dismissed an attack on SSUROs issued to non-parties for lack of third-party standing. 14

See also ECF No. 36 at 2 (“This case was filed because the appeal of the currently dismissed ‘826


14
  James Shepherd, et al. v. Regan, et al., Case No. 4:23-cv-00826-P (N.D. Tex.) (“Shepherd
lawsuit”). The District Court dismissed the Shepherd lawsuit because the Plaintiffs there lacked
Article III and third- party standing. Id., ECF No. 32 (Ex. 2). The Plaintiffs in that case
appealed the District Court’s decision in the Fifth Circuit. Case No. 23-11189. The appeal is
pending.


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case will take a substantial amount of time”). Plaintiff has no more right to assert claims on behalf

of non-party SSURO recipients here. The only claim properly before the court is Berkey

International’s challenge to the SSURO it received on May 8, 2023.

       2.      EPA reasonably issued a SSURO to Berkey International.

       Plaintiff has not made more than a perfunctory attempt to provide a basis for injunctive

relief related to the SSURO it received. See Muniz v. Rovira, 373 F.3d 1, 8 (1st Cir. 2004)

(confirming “that issues raised perfunctorily, without developed argumentation, will not be

considered”); see also J. Cajigas & Assocs., PSC v. Municipality of Aguada, No. 13-1359 (JAF),

2014 WL 320653, at *2 (D.P.R. Jan. 29, 2014) (“Perfunctory and undeveloped arguments, and

arguments that are unsupported by pertinent authority, are deemed waived.”). For that reason

alone, this Court should deny Plaintiff’s motion for preliminary injunction.

       Even if the Court considers Plaintiff’s arguments on the merits, Plaintiff is unlikely to

succeed. EPA may issue SSUROs whenever it has “reason to believe” that the recipient has

distributed or sold, or intends to distribute or sell, a pesticide or device “in violation of any”

provision of FIFRA.       7 U.S.C. § 136k(a) (emphasis added).         A pesticide includes “any

substance[(s)] … intended for preventing, destroying, repelling, or mitigating any pest.” 7 U.S.C.

§ 136(u); see also 40 C.F.R. § 152.15. Berkey Products were marketed with claims that they

“prevent[ed], destroy[ed], or mitigate[ed],” 7 U.S.C. § 136(u); see also 40 C.F.R. § 152.15, viruses

and pathogenic bacteria, and they contain antimicrobial silver, an active ingredient in pesticides

that have been registered for use on water filters for the pesticidal purpose of eliminating microbes

that can grow on the filter, see supra at p. 5. EPA therefore had “reason to believe” that Berkey

Products were pesticides intended for a pesticidal purpose, that the product had been distributed

and sold, and that Berkey intended to distribute and sell more of the product. And because Berkey




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Products are not registered under FIFRA, EPA had reason to believe that their continued sale

violated FIFRA’s bar on the sale of unregistered pesticides and the applicable FIFRA labeling

requirements for both pesticides and devices. EPA therefore acted reasonably in issuing a SSURO

to Plaintiff.

        3.      Plaintiff’s counterarguments are meritless.

        Plaintiff insists that its SSURO was based on a new rule that EPA failed to issue through

notice and comment procedures (Counts 1 & 4.i); was inconsistent with FIFRA’s definition of

“pesticide” (Counts 2 & 4.ii); rested on an unconstitutionally vague statutory definition of

“pesticide” (Count 3); deprived Plaintiff of liberty or property without due process (Counts 4.i

(again) & 5); and violated a constitutional prohibition on regulating water filters (Count 6). None

of this withstands scrutiny. To issue a SSURO to Berkey International, EPA applied long-extant

law to the facts contained in the administrative record. FIFRA’s definition of “pesticide,” cited

above, has been in place for 52 years. See Pub. L. No. 92-516, 86 Stat. 973 (Oct. 21, 1972). EPA’s

regulations defining “pesticidal purpose” have been in place for 36 years. And for decades, EPA

has warned: (1) that products, including water filters, that function through the incorporation of

pesticides are pesticides under FIFRA; and (2) that, as a general rule, the treated article exemption

from otherwise applicable pesticide registration requirements does not apply to products that make

broad public health claims, which go beyond protecting the article itself. See supra pp. X-X.

Against this backdrop, Plaintiff’s complaints about unfair surprise ring hollow.

        Plaintiff gets no further by insisting that FIFRA’s definition of “pesticide” is unfairly vague

(Count 3). A statute will withstand a void-for-vagueness challenge if it “give[s] a person of

ordinary intelligence fair notice,” using “language that the common world will understand.”

United States v. Hussein, 351 F.3d 9, 13 (1st Cir. 2003) (internal quotation marks omitted). As




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relevant here, FIFRA defines a pesticide as “any substance … intended for preventing, destroying,

repelling, or mitigating any pest.” 7 U.S.C. § 136(u). Any reasonable person would understand

that definition to include a product that contains silver used as an antimicrobial agent and

advertised as removing pests from public water.

          The same straight-forward reading of statutory text also rebuts Plaintiff’s assertion that the

challenged SSURO deviated from FIFRA’s statutory definition of pesticide (Counts 2 & 4.ii).

Plaintiff appears to argue, based on selectively quoted and ambiguous legislative history, that EPA

expanded the definition of pesticide to issue SSUROs related to Berkey Products. Compl. ¶¶ 136-

39. Plaintiff’s assertion is inaccurate as EPA has used the same definition for decades, see supra

pp. 2-3 and “legislative history is not the law.” Azar v. Allina Health Servs., 139 S. Ct. 1804, 1814

(2019).

          Plaintiff is no more likely to succeed on its Due Process Clause claim (Count 5), which

merely rehashes arguments about EPA’s alleged failure to follow notice and comment procedures

before issuing a new rule. Compl. ¶¶ 144-50. Those arguments fail because EPA has not issued

a new rule. Contrary to Plaintiff’s assertions, EPA properly used its enforcement authority under

section 13 of FIFRA to issue a SSURO to it. See 7 U.S.C. § 136k(a). Plaintiff also fails to identify

a constitutionally protected liberty or property interest that would trigger due process. See Harper

v. Rettig, 675 F. Supp. 3d 190, 206 (D.N.H. 2023) (“Absent a protectible liberty or property

interest, the protections of procedural due process do not attach.”) (internal quotation marks

omitted). The only deprivations that Plaintiff alleges concern its “private interest to be free of

wrongful interference in the operations of its business” and “damage to its professional

reputation.” Compl. ¶ 149. But “business in the sense of the activity of doing business, or the

activity of making a profit is not property” and thus is not a property interest protected by the Due




                                                   10
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Process Clause. Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666,

675 (1999). If Plaintiff has a liberty interest in selling or distributing water filters, that interest

“remains intact” because the SSURO limits but— does not prohibit—Plaintiff from selling filters.

Adams v. City of Harahan, 95 F.4th 908, 916 (5th Cir. 2024) (A “plaintiff’s liberty interest in

pursuing a specific profession is only violated if he has been completely prevented from working

in that field.”). And reputational harm, by itself, cannot support a due process claim. Paul v.

Davis, 424 U.S. 693, 701 (1976). 15

         For all these reasons, Plaintiff is unlikely to succeed on the merits of its claims. Plaintiff’s

motion for preliminary injunction should therefore be denied.

B.       Plaintiff has Failed to Demonstrate Irreparable Harm.

         Plaintiff improperly attempts to equate “irreparable harm” with “injury-in-fact.” ECF No.

1-1 at 8. 16 Injury-in-fact is a relatively low bar that is separate from irreparable harm. See O’Neil

v. Canton Police Dep’t, No. 23-cv-12685, 2023 WL 7462523, at **3, 6 (D. Mass. Nov. 10, 2023)

(plaintiffs had met the “‘extremely low bar” to show injury-in-fact to establish standing but failed

to show irreparable harm necessary for injunctive relief). Irreparable harm requires “an actual,

viable, presently existing threat of serious harm” that Plaintiff will suffer before a decision on the

merits and that cannot be remedied absent an injunction. Sierra Club v. Larson, 769 F. Supp. 420,




15
   Count 6 asserts that the Ninth and Tenth Amendments imply “rights to filter water.” This
claim is unmoored from constitutional text or precedent. No such right exists. And even James
Shepherd and NMCL conceded in filings in the U.S. District Court for the Northern District of
Texas that a similar claim was “unlikely to succeed” because of “a failure of previous courts to
appreciate the Ninth Amendment.” Pls.’ Reply, Shepherd, et al. v. Regan, et al., 4:23-cv-826
(N.D. Tex. Sep. 5, 2023), ECF No. 20 at 9, n.6.
16
     The cases Plaintiff cites address standing, not preliminary injunctive relief.


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422 (D. Mass. 1991) (emphasis added); see also Estancias de Cerro Mar, Inc. v. P. R. Aqueduct

& Sewer Auth., No. 20-1664 (CVR), 2024 WL 263037, at *4 (D.P.R. Jan. 23, 2024).

       Plaintiff asserts that the SSURO caused irreparable harm because it stopped Berkey

International’s business operations. ECF No. 1-1 at 8. The SSURO, however, only ordered

Plaintiff not to sell products other than in accordance with its terms. ECF No. 1-3 at 68. This may

be an injury in fact, but it is not irreparable harm. Further, as explained below, economic loss is

not irreparable harm absent evidence of a risk to the very existence of the movant’s business. No

such demonstration has been made here.

       1.      Plaintiff’s unsupported claims of economic loss are insufficient to establish
               irreparable harm.

       As a threshold matter, Plaintiff’s lengthy delay before filing suit strongly suggests that any

harm Plaintiff has experienced or will experience is not irreparable. See Charlesbank Equity Fund

II v. Blinds To Go, Inc., 370 F.3d 151, 163 (1st Cir. 2004); La Simple Co., Ltd. v. SLP Enters., No.

21-10058, 2021 WL 1648762, at *8 (D. Mass Apr. 27, 2021). Had Plaintiff filed suit in May 2023,

this case could already have been decided on the merits. In such circumstances, there is a strong

equitable presumption against granting a preliminary injunction. Sandoz, Inc. v. FDA, 439 F.

Supp. 2d 26, 31 (D.D.C. 2006); see also 11A Charles A. Wright, Arthur R. Miller & Mary Kay

Kane, Federal Practice & Procedure § 2948.1, at 149 (2d ed. 1995) (“[I]f a trial on the merits can

be conducted before the injury would occur there is no need for interlocutory relief.”).

       Beyond that, claims of economic loss are typically insufficient to establish irreparable

harm. See Estancias de Cerro Mar, 2024 WL 263037, at *3. This is true even if alleged financial

losses will not be recoverable. See Biovail Corp. v. FDA, 519 F. Supp. 2d 39, 49 (D.D.C. 2007).

“The only exception may be when losses are so large that they may be irreparable, as when the

potential economic loss is so great as to threaten the existence of the movant’s business.” Tropical



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Chill Corp. v. Pierluisi Urrutia, No. 21-1411 (RAM-MEL), 2022 WL 2374976, at *27 (D.P.R.

Jan. 17, 2022) (internal quotation marks omitted).

               a.      Plaintiff’s claims of lost sales and market share do not demonstrate
                       irreparable harm.

       The only specific allegation of Berkey International’s lost sales is that it “has $38,800,000

in wholesale inventory that it is unable to manufacture and sell[.]” ECF No. 1-1 at 10. Plaintiff

offers no evidence to substantiate this claim, but, even assuming it is true, courts are reluctant to

find that claims of competitive loss in the marketplace constitute irreparable harm, especially

where, as here, Plaintiff has failed to explain why it could not regain these competitive losses. See

Astellas Pharma US, Inc. v. FDA, 642 F. Supp. 2d 10, 22-23 (D.D.C. 2009); Biovail, 519 F. Supp.

2d at 49.

       Plaintiff cites Feinerman v. Bernardi, 558 F. Supp. 2d 36 (D.D.C. 2008), for the

proposition that, because sovereign immunity would bar it from suing the United States for

damages, any loss of income at all is per se irreparable harm. However, “this cannot be the rule

because every action claiming economic loss caused by the government would meet the standard.”

Mylan Pharmaceuticals, Inc. v. Sebelius, 856 F. Supp. 2d 196, 216 (D.D.C. 2012). Thus,

Feinerman “goes too far and the inability to recover economic losses can more accurately be

considered as a factor in determining whether the movant has shown irreparable harm.”

ConverDyn v. Moniz, 68 F. Supp. 3d 34, 49 (D.D.C. 2014).

       Even if the rule in Feinerman were applied here, it is distinguishable. In Feinerman, the

plaintiff was threatened with the permanent loss of 40% of his customer base. 558 F. Supp. 2d at

50-51; see also ConverDyn, 68 F. Supp. 3d at 49 (discussing Feinerman). Here, by contrast,

Plaintiff’s inventory may represent delayed or deferred sales, not permanently lost sales. Plaintiff

thus has not shown any permanent loss. See Alphapointe v. Dep’t of Veterans Affairs, 416 F. Supp.


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3d 1, 9 (D.D.C. 2019) (rejecting Feinerman and holding that short-term temporary losses were

“speculative and theoretical” and did not represent irreparable harm).

       Plaintiff’s other claims of lost sales and market share are that Berkey Products generally

have lost ground to competitors, and, therefore, other unidentified sellers (not Plaintiff) have lost

sales and market share. As explained below, alleged injuries to others do not establish irreparable

harm to Berkey International. Even if third-party injuries could be considered, Plaintiff has failed

to make its case. For example, Plaintiff claims that Berkey Products have lost sales to competitors

on Amazon. In support, Plaintiff offers Exhibit B-17, which purports to compare sales on Amazon

of the “Big Berkey” and “equivalent unit sales” (which is not defined) of four unidentified

competitors from the first half of 2022 and 2023. Exhibit B-17 is inadmissible, does not show

what Plaintiff claims it shows, and suffers from other flaws. 17 Regardless, to establish irreparable

harm Plaintiff must demonstrate a sufficient causal connection between the alleged irreparable

harm and the activity to be enjoined. See Puerto Rico v. OPG Tech., Inc., Civil No. 15-3125, 2016

WL 5724807, at *18 (D.P.R. Sept. 6, 2016), report and recommendation adopted, 2016 WL

571973 (Oct. 1, 2016). Plaintiff offers no evidence that it sells (or ever sold) Berkey Products on

Amazon. Without such evidence, there is no causal link between an alleged decline in Amazon

sales and any loss of sales or market share by Plaintiff. 18 Therefore, the alleged decline in sales


17
    Exhibit B-17 lacks a proper foundation and is an impermissible lay opinion and is therefore
inadmissible. Even if admissible, all it shows is that between January 2023 (one month after the
first Berkey-related SSURO was issued to another party) and June 2023 (one month after a SSURO
was issued to Plaintiff), sales of the Big Berkey fluctuated slightly up and down but did not vary
significantly from 2022 sales (except for a huge increase in February 2023). And competitors’
sales did not increase as sales of the Big Berkey declined; they stayed the same. This does not
support the conclusion that the issuance of the SSUROs “caused a massive loss” of anyone’s
market share to competitor filtration systems. For the same reasons, Plaintiff’s Exhibit B-15 is also
inadmissible for the same reasons.
18
   Plaintiff alleges in its Complaint and in the Shepherd Declaration that, in June 2023, Amazon
“restricted” sales of Berkey Products. ECF No. 1, ¶ 69; ECF No. 1-2, ¶ 28. The cited sources do


                                                 14
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on Amazon does not demonstrate that Plaintiff has suffered or will suffer irreparable harm. 19

       This should end any consideration of retail sales on Amazon (or other platforms).

However, to the extent the Court considers these allegations, it should be noted that Plaintiff has

made no attempt to account for any of the other, more likely causes for any decline in sales on

Amazon (or elsewhere). These include a July 2022 article on the New York Times’ Wirecutter

criticizing and declining to recommend the “Big Berkey.” 20 A quick Internet search turns up

numerous additional references to, and discussions about, the class action lawsuit against New

Millenium Concepts Ltd. (“NMCL”), 21 in which the plaintiffs claimed that Berkey Products do

not work as advertised. NMCL thought this commentary was so significant that it published

written responses. See Pl.’s. Exs. A-5 (response to Wirecutter article); A-3 (response to class

action lawsuit), B-19 (same). These and other criticisms of Berkey Products 22 have far greater



not say anything of the kind, and Plaintiff provides no details concerning this alleged “restriction.”
Berkey Products, including new water filtration devices and replacement filters, appear to still be
available for sale on Amazon and other online platforms. See Big Berkey on Amazon; Black Berkey
replacement filters on Amazon; Berkey Products on eBay (last viewed on Apr. 16, 2024).
19
   Plaintiff also complains about counterfeit products. See ECF No. 1-1 at 10. But Plaintiff has
offered no evidence that the issuance of the SSUROs resulted in an increase in counterfeit products,
that any hypothesized increase caused a distinct harm to Plaintiff, or that any such harm cannot be
remedied; indeed, legal remedies are available for counterfeiting, as Plaintiff recognizes in its
Motion. Id.
20
   Tim Hefferman, The Big Berkey Water Filter: Uncertified and Inconvenient, N.Y. TIMES
WIRECUTTER (July 22, 2022), App. 40-63, available at
https://www.nytimes.com/wirecutter/reviews/big-berkey-water-filter-system/ (last viewed on
Apr. 16, 2024).
21
   See, e.g., u/Ecstatic-Fun-2390, Do not order from berkeywaterfilter.com, r/Berkey,
https://www.reddit.com/r/Berkey/comments/zmu6e1/do_not_order_from_berkeywaterfiltercom/
(last visited Apr. 16, 2024); SR, Berkey Class Action Lawsuit, Comment to Travel Berkey
Gravity-Fed Water Filter with 2 Black Berkey Elements (last viewed on Apr. 16, 2024).
22
  For example, Berkey water filters cannot be sold in California or Iowa because they are not
NMF/ANSI certified (a third-party certification that they comply with National Standards for
Water Treatment Systems). There are numerous references on the internet suggesting that Berkey


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public visibility on the Internet, are more easily understood, and are more readily available to

consumers, than the SSURO issued to Berkey International (or the other SSUROs).

                  b.     Plaintiff’s other claims of economic loss are not irreparable harm.

       Plaintiff alleges that, because of the SSUROs, its storage costs are about $68,000 per

month. ECF No. 1-1 at 10. No supporting evidence or additional details are provided to establish

these charges are anything other than ordinary business expenses. Plaintiff also alleges that it has

a contract with the government of Puerto Rico that requires “maintenance of a certain number [sic]

local employees in Puerto Rico,” that these jobs have been lost, and that plaintiff is “in jeopardy

with [sic] defaulting on its agreement with Puerto Rico.” ECF No. 1–1 at 9. The contract is not

provided nor are any other details about its terms. Plaintiff does not allege any specific harm that

will result if it defaults on its contract, other than having to hire and train new employees. And it

does not allege, much less demonstrate, that a future default is certain, merely that it is possible.

This is not “actual and imminent” harm sufficient to support an injunction. See Estancias de Cerro

Mar, 2024 WL 263037, at *4 (movant must demonstrate an injury that is “actual and

imminent.”). 23

       2.         Plaintiff cannot establish irreparable harm based on alleged injuries to non-
                  parties.




Products are “banned” in these states and/or should be avoided because they lack independent
certification. See Eva Hagen, Here’s Why Berkey Water Filters Are Banned in California,
greenmatters (July 12, 2023 9:42 A.M. ET), (last viewed on Apr. 16, 2024).
23
   Plaintiff does not allege in its Motion that either its storage costs or the potential default on its
contract threatens the viability of its business. James Shepherd asserts in his declaration, however,
that either of these may force Plaintiff out of business by the time this case is finally decided,
which he estimates will be in about a year. ECF No. 1-2 ¶¶ 60-61. As noted above, this case could
have already been decided had Plaintiff filed suit promptly. Therefore, the possibility that these
losses may drive Plaintiff out of business in another year, even if true, does not warrant the issuance
of an injunction.


                                                  16
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        Plaintiff’s claims of lost sales on Amazon (or other platforms) are, even if true, claims of

harms to unidentified others, not Plaintiff. In addition, Plaintiff alleges that its licensors—the

owners of the intellectual property associated with Berkey Products—have been deprived of the

royalties they would otherwise have received from Plaintiff’s sales, ECF No. 1-1 at 12, and that

an unidentified vendor of Berkey International was forced to lay off skilled workers, id. at 9.

Plaintiff speculates that consumers may be harmed by using “knock off” filters or counterfeit

filters. Id. at 10. And Plaintiff’s Exhibit B-14 contains email traffic in which French distributors

of Berkey Products claim harm from statements made in France about the SSUROs. 24

        Even assuming that these claims are true, Plaintiff cannot establish that it will suffer

irreparable harm based on injuries to non-parties. See Winter, 555 U.S. at 20 (“A plaintiff seeking

a preliminary injunction must establish that he is likely . . . to suffer irreparable harm in the absence

of preliminary relief.”) (emphasis added); see also Morice v. Hosp. Serv. Dist. # 3, No. 18-7945,

2019 WL 1517954, at *7 (E.D. La. Apr. 8, 2019) (“Dr. Morice lacks standing to seek injunctive

relief for harm that will occur to others, even to others who would allegedly benefit from such

injunctive relief.”).

        1.      Plaintiff’s unsupported claims of loss of reputation and goodwill do not
                establish irreparable harm.

        Plaintiff       alleges   harm   to   reputation,     harm     to    the    “Berkey     brand,”

and loss of goodwill but provides no specifics and no supporting evidence. ECF No. 1-1 at 9, 11.

Courts are often and rightfully reluctant to accept claims of reputational damage, agreeing that the

harm is sufficiently irreparable only when it is “pervasive and certain to occur.” Tex. Marine &


24
   These complaints are not that the SSUROs themselves are causing harm but that French
competitors of the French Berkey distributors are misrepresenting the nature and effect of the
SSUROs. The remedy is legal action against those making the misrepresentations, not lifting the
SSUROs.


                                                   17
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Brokerage, Inc. v. Bennington Marine, LLC, No. 1:12-CV-397, 2012 WL 12888827, at *5 (E.D.

Tex. Oct. 17, 2012), report and recommendation adopted, No. 1:12-CV-397, 2012 WL 12892168

(E.D. Tex. Nov. 9, 2012).

         Plaintiff’s arguments are about Berkey Products generally. It has offered no evidence that

harm to Berkey International’s reputation, brand, or goodwill in particular is likely to occur. And

even if the Court could consider Plaintiff’s allegations of harm to the “Berkey brand,” Plaintiff has

failed to show that such harm would not be due to things like the New York Times negative review,

the class action lawsuit, or the perception that Berkey Products are banned in California, all of

which have a higher public profile and visibility than the SSURO.

C.       The Balance of the Equities and the Public Interest Weigh Against an Injunction.

         If the Court finds that Plaintiff has failed to demonstrate either a likelihood of success on

the merits or irreparable harm, Plaintiff’s Motion can be denied without further inquiry. See New

Comm. Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002) (likelihood of success

on the merits); Pub. Serv. Co. of N.H. v. Town of West Newbury, 835 F.2d 380, 383 (1st Cir.1987)

(irreparable harm). However, the other factors also favor denial of injunctive relief. Where, as

here, the opposing party is the government, the two remaining factors, the balance of equities and

the public interest, are merged into a single inquiry. See Nken v. Holder, 556 U.S. 418, 435 (2009).

Plaintiff cites two public interest factors that it claims support temporary equitable relief: (1)

EPA’s alleged change in its position as to whether registration is required for Berkey Products;

and (2) the claim that, if Berkey Products cannot be purchased, consumers will be forced to rely

on inferior imitations. ECF No. 1-1 at 13-14. Neither of these supports injunctive relief. 25




25
     Plaintiff also reasserts its claims of economic loss, but this is a not public interest factor.


                                                    18
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       1.      EPA did not change its position.

       Plaintiff does not dispute that antimicrobial silver is in Berkey filters, see, e.g., ECF No. 1,

¶¶37, 39; ECF No. 1-2 ¶ 55, or that Berkey filters have been making pesticidal claims for

“decades,” ECF No. 1-1 at 13. This alone was enough for EPA to have reason to believe, when

the SSURO was issued, that Berkey filters are within EPA’s FIFRA jurisdiction (as either a

pesticide or a device), even if, as Plaintiff now contends, the silver is used only to preserve the

integrity of the filter itself. See supra at 5. And under either theory of FIFRA jurisdiction, EPA

identified FIFRA violations for these products. At the time it issued the SSUROs, the facts before

EPA indicated that these products were unregistered pesticides because the filters contained a

substance with known antimicrobial properties—silver—and made pesticidal claims. This is

consistent with EPA’s decades-long position on such products. Thus, EPA did not change its

position on these types of products in issuing the SSURO to Berkey International. Rather, Plaintiff

misunderstands—or simply disagrees with—EPA’s position.

       To the extent that Plaintiff believes that additional facts unavailable to EPA at the time it

issued the SSUROs should alter EPA’s understanding of its jurisdiction over these products, EPA

was (and continues to be) willing to consider those facts in considering how to resolve the SSURO.

But given the harm that can be caused by the ingestion of silver, see supra at 4, and the FIFRA

violations under any understanding of EPA’s jurisdiction over these products, the public interest

does not favor allowing continued sale of Berkey’s filters during the pendency of this litigation or

resolution of the SSURO issued to Berkey International. That Plaintiffs or others may have sold

these products for some time in violation of FIFRA is irrelevant. There is no estoppel against the

government whereby if one violates the law for a certain period without detection, or even with




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acquiescence, an enforcement action cannot later be brought. See Utah Power & Light v. United

States, 243 U.S. 389, 408-09 (1917).

       2.      Plaintiff has failed to show a lack of viable alternatives to Berkey Products.

       Plaintiff has failed to provide any evidence that other table-top water filters using carbon

filters are inferior to Berkey Products. To be sure, there is much inflammatory rhetoric to this

effect in Plaintiff’s Motion and in its Complaint and supporting papers, and there are a number of

improper lay opinions in the Shepherd Declaration that lack foundation or support, but these are

not evidence on which the Court could base an injunction. Additionally, consumers have other

alternatives in water filtration besides imitations of Berkey filters. For example, as noted in the

New York Times article discussed above, there are pitcher and under-the-sink water filters that are

smaller, cheaper, and easier to maintain. See supra p. 15.

       Thus, Plaintiffs have failed to demonstrate that the public interest favors a preliminary

injunction.

                                           Conclusion

       For the reasons set forth above, Plaintiffs’ amended motion for a preliminary injunction

should be denied.



                                                     Respectfully submitted,

                                                     TODD KIM
                                                     Assistant Attorney General
                                                     Environment & Natural Resources Division

                                                     /s/ Shari Howard
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                                       Certificate of Service

       On April 17, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, District of Puerto Rico, using the electronic case filing system of

the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b).

                                                      /s/ Shari Howard
                                                      Shari Howard
                                                      Trial Attorney
